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                                MINUTE ORDER



 CASE NUMBER:            CRIMINAL NO. 17-00101-1 LEK
 CASE NAME:              United States of America v. Anthony T. Williams


      JUDGE:       Leslie E. Kobayashi          DATE:             12/11/2019

COURT ACTION: EO: COURT ORDER DENYING DEFENDANT’S MOTIONS
CHALLENGING JURISDICTION [DKT. NOS. 633 AND 645]

       On November 6, 2019, pro se Defendant Anthony T. Williams (“Defendant”) filed
a “Motion of Private Attorney General, Anthony T. Williams Challenging the Jurisdiction
of the Federal Corporation Called the ‘United States’ or ‘United States of America as
Outlined in Title 28 USC 3002(15)1(1)” (“11/6/19 Motion”). [Dkt. no. 633.] Plaintiff the
United States of America (“the Government”) filed its response to the 11/6/19 Motion on
December 6, 2019. [Dkt. no. 693.] On November 15, 2019, Defendant filed a “Motion
for Miscellaneous Relief” (“11/15/19 Motion”). [Dkt. no. 645.] The Court finds that: the
11/6/19 Motion and the 11/15/19 Motion are suitable for disposition without a hearing
pursuant to Local Rule 7.1(c); and it is not necessary for the Government to file a
response to the 11/15/19 Motion because it raises the same arguments as the 11/6/19
Motion.

        The 11/6/19 Motion and the 11/15/19 Motion raise various challenges to this
Court’s jurisdiction over Defendant. Defendant has raised variations of these same
arguments in several other motions. See, e.g., Motion for Rebuttal to Sworn Declaration
of Anthony Williams, filed 3/19/18 (dkt. no. 146); “Motion for Plea of Misnomer,” filed
8/14/19 (dkt. no. 553); “Motion to Clarify Judicial Nature and Citizenship Status of
Anthony Williams,” filed 9/3/19 (dkt. no. 569). These motions were all denied. See EO,
filed 9/28/18 (dkt. no. 325) (denying dkt. no. 146); order, filed 9/19/19 (dkt. no. 587)
(denying dkt. no. 569); EO, filed 9/23/19 (dkt. no. 596) (denying dkt. no. 553). Thus, the
11/6/19 Motion and the 11/15/19 Motion repeat arguments that have already been
considered and rejected.

       To the extent the 11/6/19 Motion and the 11/15/19 Motion seek reconsideration of
the orders cited above, the motions merely allege errors of law and/or fact in the prior
orders; they do not allege newly available evidence or intervening changes in the law.
Defendant’s request for reconsideration is untimely because motions for reconsideration
alleging “[m]anifest error of law or fact” must be brought within fourteen days after the
original order is issued. See Local Rule LR60.1(c); see also EO: Court Order Denying
Def.’s “Motion for Reconsideration of Court’s 8/21/18 Electronic Order Re: ‘United
States’s Motion to Extend the Deadline to Respond to Defendant’s Motion to Dismiss,’”
filed 10/1/18 (dkt. no. 329), at 2 (stating that Local Rule 60.1 applies to motions for
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reconsideration of nondispositive orders in this case). Further, even if this Court
considered Defendant’s untimely request for reconsideration, the request would be denied
because neither the 11/6/19 Motion nor the 11/15/19 Motion establishes any manifest
error of law or fact in the prior orders. Defendant’s 11/6/19 Motion and 11/15/19 Motion
are therefore DENIED.

      IT IS SO ORDERED.


Submitted by: Agalelei Elkington, Courtroom Manager
